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UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY

MARK J. PELLECCHIA,

Plaintiff,

Civil Action No. 23-21828 (GC) BD)
v.
ORDER

PRINCETON UNIVERSITY,

Defendant.

THIS MATTER comes before the Court upon the December 4, 2023 Motion to Dismiss
Plaintiff Mark J. Pellecchia’s Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6) filed
by Defendant Princeton University. (ECF No. 5.) Plaintiff, proceeding pro se, has yet to submit
a response to the motion. For good cause shown,

IT IS on this 8th day of January, 2024, ORDERED as follows:

1. Plaintiff is to submit a written response to Defendant’s pending motion on or before

January 26, 2024, or the motion will be deemed unopposed.

2. The Clerk is directed to mail a copy of this Order to Plaintiff via regular United

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Proxe STATES DISTRICT JUDGE

States mail.

